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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                  Case No. 1:07-CR-06

v.                                                        HON. ROBERT HOLMES BELL

VICTOR ROLANDO OVALLE,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Victor Rolando Ovalle has filed a motion for modification or reduction of

sentence (ECF No. 573) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the

United States Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       However, because the mandatory minimum sentence was imposed at sentencing, the

Probation Office has now found Defendant ineligible for a reduction in sentence under Guideline

Amendment 782. No objections have been filed to the Report of Eligibility within the time frame

prescribed.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(ECF No. 573) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




Dated: January 14, 2015                     /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            UNITED STATES DISTRICT JUDGE
